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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

KELLY DWYER,                                   §
                                               §
        Plaintiff,                             §
                                               §
                                               §
                                               §
        v.                                                Civil Action No. 1:17-cv-00439(LY)
                                               §
                                               §
                                               §
UNITEDHEALTHCARE INSURANCE                     §
COMPANY,                                       §
                                               §
        Defendant.
                                               §

                                         STIPULATION

        IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel for all parties,

that:

        1.       Plaintiff hereby withdraws the Second Count of his Complaint for equitable relief

under 29 U.S.C. §1132(a)(1)(B), as well as any potential claim for equitable relief under 29 U.S.C.

§1132(a)(3) or for equitable relief other than the relief sought in the First Count of Plaintiff’s

Complaint for the wrongful denial of benefits under; 29 U.S.C. §1132(a)(1)(B);


        2.       Plaintiff’s remaining claims in this matter are for     relief   under   29 U.S.C.

§1132(a)(1)(B) for the wrongful denial of benefits, pre- and post-judgment interest, and attorneys’

fees under 29 U.S.C. §1132(g) ;


        3.       Defendant withdraws the Affirmative Defenses in its Answer numbered 9, 11, and

12, and limits its Affirmative Defense numbered 16 (alleging failure to exhaust administrative

remedies) to Plaintiff’s claims regarding his claimed request for a “gap exception” under the Plan;

and


______________________________________________________________________________
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       4. Case
             Plaintiff withdraws his pending
               1:17-cv-00439-LY              motion
                                      Document    34to Filed
                                                       strike 10/25/17
                                                              portions of Defendant’s
                                                                          Page 2 of 2Affirmative

Defenses. [Document 20].
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________________________________                  _______________________________
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(832) 615-2665 (fax)                              Attorney for Defendant
Attorneys for Plaintiff




                                           SO ORDERED.



                                             Hon. Mark Lane
                                             United States Magistrate District Judge




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______________________________________________________________________________
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